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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 ROBERT GRAY, and MAKRUM GEORGE,
 individually, and on behalf of a class of             Civ. Ac. No.: 2:13-cv-3417-WJM-MF
 similarly situated individuals,

                Plaintiffs,
                                                             DECLARATION OF
     v.                                                      KIRK D. KLECKNER

 BMW OF NORTH AMERICA, LLC and BMW
 AKTIENGESELLSCHAFT,

               Defendants.


 KIRK D. KLECKNER, of full age, declares as follows:

          1.    Summary of Opinions

        a.      Based on the analyses explained below, I have determined within a reasonable
 degree of professional certainty that the Settlement reached in this case has a minimum value of
 $8,510,000.

          2.    Experience and Qualifications

         a.      I am a Certified Public Accountant in the United States with an MBA. I have an
 ABV accreditation in business valuation and intangible asset valuation from the American
 Institute of Certified Public Accountants (AICPA). I am an Accredited Senior Appraiser (ASA-
 BV) from the American Society of Appraisers. I have litigation-related experience in valuing
 economic losses and damages, and I have a Certified in Financial Forensics (CFF) accreditation
 from the AICPA.

         b.      My experience includes seven years as the Chief Financial Officer for a well-
 respected Top 50 United States automotive dealership group; 19 years with an accounting firm
 including roles as shareholder, Chief Operating Officer, and Director of Business Valuation and
 Litigation Support Services; and performing services for hundreds of companies in a wide array
 of industries, including but not limited to retail dealerships, property and casualty insurance,
 warranty insurance, and distribution.

        c.      My experience as CFO included service and warranty matters. My duties as CFO
 included establishing and overseeing extended service contractual relationships, and establishing
 and overseeing automotive dealer-owned reinsurance entities and structures for extended service
 warranty contracts and other insurance-related products.




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         d.      My experience as an expert includes the following automotive warranty related
 class action settlement valuation determinations: 1) Warranty Extension and other class member
 benefits provided for by the Volkswagen and Audi Warranty Extension class action settlement
 agreement (VW/Audi)1; 2) the Customer Support Program related class member benefits
 provided for by the Toyota-United States class action settlement agreement (Toyota-US) 2; and
 3) Customer Support Program in the Toyota-Canadian class action settlement agreement
 (Toyota-Canadian)3.

         e.       My curriculum vita is attached as Exhibit A.

         3.       Valuation Purpose and Scope and Materials Considered

        a.      Plaintiff’s Counsel asked me to independently value the class member benefits
 derived from this class action litigation and settlement related only to:

                        i.      Service Campaign service and software update (Software Update)
                  made available to Class Members free of charge;

                         ii.    Warranty Extension made available on Class Vehicles on an
                  unlimited mileage basis for the convertible top for a one-year period; and

                         iii.    Reimbursement for Out-of-Pocket Expenses made available to
                  Class Members (Class Member Costs) that incurred eligible out-of-pocket
                  expense relating to the Convertible Top Defect.

        b.      In conducting my work and forming my opinions, I was provided and have
 considered, in addition to my substantial experience in this area, the materials identified in
 Exhibit B.

        c.      My Valuation Primary Assumptions, Valuation Methodology, Valuation Opinions
 and Certifications and Representations are profiled below.

         4.       Valuation Primary Assumptions and Limiting Conditions

         a.     My analyses, opinions, and conclusions are limited only by the Valuation Primary
 Assumptions and Limiting Conditions outlined in Exhibit C including an assumed Valuation
 Effective Date of June 19, 2017.

         5.       Valuation Methodology


 1
  The United States District Court District Of Massachusetts, In re Volkswagen and Audi Warranty Extension
 Litigation, Docket No. 1:07-md-01790
 2
  Central District Of California, Southern Division, In Re: Toyota Motor Corp. Unintended Acceleration Marketing,
 Sales Practices, And Products Liability Litigation, United States District Court, Case No. 8:10ML2151 JVS
 (FMOx)
 3
  Canadian Toyota Unintended Acceleration Marketing, Sales Practices, And Products Liability Litigation
 Settlement Agreement (various courts)



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       a.      I requested, read and considered the following materials provided by Plaintiff’s
 Counsel:

                      i.     Settlement Agreement and Release including Exhibit A and B,
               October 24, 2016 that provides the specifics for the Software Update; Warranty
               Extension; and Reimbursement for Out-of-Pocket Expenses;

                       ii.    Corrected First Amended Class Action and Jury Trial Demand,
               October 16, 2014 and Defendants’ Objections and Responses to Plaintiffs’ Rule
               30(b)(6) Deposition Notice and Document Demand, April 27, 2016 to understand
               the nature and scope of this matter and the available information to provide the
               value opinions;

                       iii.    Letter from Christopher J. Dalton, Buchanan Ingersoll Rooney PC,
               April 10, 2015 and subsequent related email chain disclosing information
               including that there were 11,225 warranty claims and 1,148 goodwill claims
               relating to the Convertible Top Defect in Class Vehicles.

                       iv.    Letter from Christopher J. Dalton, Buchanan Ingersoll Rooney PC,
               July 6, 2016 providing the national BMW average cost of applicable repairs and
               replacements;

                       v.     Transcript of Deposition of Robert Vincent Coake, July 13, 2016
               and exhibits to gain an understanding of pertinent facts including the nature of the
               Convertible Top Defect, BMWs repair procedures and BMW’s warranty claims
               practices;

                      vi.    BMW applicable technical service information bulletins: SI B54
               03 05 July 2005, SI B54 17 06 November 2006, SI B54 17 06 June 2011 and SI
               B54 17 06 June 2016 to gain an understanding of BMW’s applicable repair
               procedures and warranty costs; and

                      vii.    Background information provided by Plaintiff’s Counsel that
               included the total number of Class Vehicles originally sold (30,344).

         b.     To estimate the number of Class Vehicles that could benefit from the settlement, I
 utilized the number of Class Vehicles originally sold by Model Year provided by BMW and
 adjusted for the declining number on the road over time by utilizing vehicle survivability data
 from the National Highway Traffic Safety Administration.

         c.      To value the Software Update made available to Class Members, I utilized
 BMW’s United States average warranty reimbursement amount of $70.15. This amount is very
 likely less than the retail cost consumers would pay for the same procedure since industry
 practice is for manufacturers to reimburse their dealers for fewer warranty hours than what the
 dealership would charge in a customer pay situation. I did not increase the Software Update




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 value for the warranty to retail cost premium4 since I did not have a source for the customer pay
 retail price for the Software Update. The typical customer pay premium in the industry is 25% to
 40%. Thus, I believe my value estimate is conservative in nature. See Exhibit D for the Software
 Update valuation calculations.

          d.     To value the Warranty Extension my valuation approach is based on estimating
 the market price Class Members would pay to purchase a hypothetical extended service contract5
 that is equivalent to the financial protection6 resulting from the existence of the Warranty
 Extension. This approach has been accepted by many courts including my valuations in the
 VW/Audi, Toyota-US and Toyota-Canadian class actions mentioned above in the experience and
 qualification section. Thus, I employed methods and analyses of a type reasonably relied upon by
 courts and experts in my field in forming opinions or inferences on the subject. See the attached
 Exhibit E for Warranty Extension valuation summary calculations. In developing the price of the
 Hypothetical Extended Service Contract, my primary considerations included the following:

                         i.      The Warranty Extension is equivalent to an extended service
                  contract with the following elements:

                                    1.       Coverage for a one-year period.

                                    2.       A zero deductible amount; and

                                    3.       Unlimited mileage.

                         ii.    Consumer retail prices of extended service contracts (ESCs) for the
                  Class Vehicles available in the market in 2017.

                        iii.   The Class Vehicles estimated average vehicle mileage for each
                  Model Year and new vehicle warranty status as of the Valuation Effective Date.

                          iv.   The Warranty Extension covered services are sensor modification,
                  sensor replacement, top replacement and Software Update. I considered that the
                  BMW dealer average Convertible Top Defect repair claim cost of $355.54 and the
 4
  It is common in the industry for manufacturers to reimburse for hours for warranty work than is customarily
 charged by dealerships for customer pay work.
 5
   An extended service contract (ESC), sometimes called an extended warranty or plan, provides a warranty on
 certain vehicle parts beyond the coverage of the vehicle’s original standard manufacturer warranty. Typical ESC
 levels of coverage vary from “power train only” up to full “bumper to bumper”. The ESC is a contractual agreement
 between the vehicle owner and the ESC obligor (typically an independent insurance company or manufacturer
 affiliated insurance company). Consumers typically purchase an ESC from a dealer at the point of vehicle purchase.
 6
  OPINION AND ORDER, JOSEPH A. O’KEEFE Plaintiff v. MERCEDES-BENZ USA, LLC Defendant, Civil
 Action No. 01-CV-2902, Civil Action No. 03-CV-1480, United States District Court, E.D. Pennsylvania, April 2,
 2003, B, 2 –“ We believe that the benefits to the class are most accurately measured by making an estimation of the
 Extended Coverage Program’s market price. We realize that this figure is difficult to estimate because the Extended
 Coverage Program–or any similar warranty product–is not on the market. Yet, economists, actuaries, investors and
 businesspeople must estimate and value risk in all types of market transactions. A warranty is simply the ex ante
 market price of insuring against a foreseeable risk. Any other measure except the market price would over or
 underestimate the benefit to the class."



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                BMW warranty cost for the Software Update of $70.15 for a total Warranty
                Extension covered cost of $425.69. For the same reasons discussed in the above
                Software Update section, this amount is very likely less than the retail cost
                consumers would pay for the same procedures by 25% to 40%. Thus, I believe my
                value Warranty Extension valuation estimate is conservative in nature.

                       v.     The Convertible Top Defect claims occurrence rates from my
                analysis of Warranty, Goodwill and Certified Pre-Owned (CPO) data provided by
                BMW. The data indicates that the rate of warranty, goodwill and CPO claims
                were increasing over the annual periods; and

                        vi.     The actual market place relationship between the consumer retail
                prices paid for extended service contracts and consumer retail prices paid for the
                vehicles covered by the extended service contracts. Based on market place retail
                prices and the specific facts and circumstances of the Warranty Extension, I
                believe a 5% factor of the Average Warranty Claim Cost is a reasonable estimate
                of the consumers retail cost of a Hypothetical Extended Service Contract that is
                equivalent to the Warranty Extension.

        e.      To determine the value of the Reimbursement Campaign (the Class Member
 Costs incurred), my approach was to estimate the number of Class Members (vehicle owners), to
 estimate the number of such owners that would choose to incur costs to repair or replace and
 then apply a weighted average cost to repair or replace. See the attached Exhibit F for Estimated
 Repair or Replacement Costs Incurred Available for Reimbursement summary calculations. My
 primary considerations and calculations included the following:

                      i.      The number of Class Vehicles originally sold and the declining
                number of such remaining on the road over time;

                       ii.    The estimated number of repair and replacement occurrences based
                on my analysis Convertible Top Defect warranty period claim provided by BMW;

                        iii.    BMW dealer average Convertible Top Defect repair claim cost of
                $355.54 from BMW’s warranty database. For the same reasons discussed in the
                above Software Update and Warranty Extension sections, this amount is very
                likely less than the retail cost consumers would pay for the same procedures by
                25% to 40%. Thus, I believe my value Warranty Extension valuation estimate is
                conservative in nature.

                        iv.    The estimated average number of in-service years from the end of
                the new vehicle warranty period to the assumed Valuation Effective Date for each
                Model Year (The more in-service years the greater likelihood of an owner
                incurring repair and replacement costs.) The average, post-warranty in-service
                years for the Class Vehicles range from 7.2 for the 2010 Model Year increasing to
                13.2 for the 2004 Model Year. On a number of Class Vehicles sold weighted
                average basis this equates to 10.7 average in-service years after the original
                warranty period versus only four years for the original warranty period.



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                           v.       The estimated average number of owners for the Class Vehicles by
                  Model Year. (Each vehicle owner will make their own repair or not decision upon
                  incurring the Convertible Top Defect symptoms.) Applying industry ownership
                  statistics, I calculated that the 2009-2010 Model Year vehicles average 1.9 owners
                  and the 2004-2008 Model Year vehicles average 2.9 owners;

                           vi.     I estimate the total vehicle owners at 78,9307.

                         vii.    The total number of Convertible Top Defect warranty claims per
                  BMW was 11,225 under the four-year warranty. My estimate is 18,368 vehicle
                  owners (of a total 78,930) chose to pay to repair or replace over the 10.7 weighted
                  average in-service years after the new vehicle warranty period.

                          viii. The actual or estimated number of owners that already had their
                  repairs and replacements paid for through the new vehicle warranty (11,225),
                  through certified preowned vehicle coverage (1,309), through extended service
                  contract coverage (9,104) or through BMW extended goodwill (1,906); and

                         ix.      The estimated impacts of other consumer pay to repair or replace
                  dynamics including available financial resources, nature of the faulty part,
                  frequency of problem, convenience of repair, etc. Based on my judgement, I
                  estimated that the number of consumers that would incur a an eligible repair or
                  replacement would be one-third of the annual rate that consumers took their
                  vehicles to the BMW dealership when the Class Vehicle was covered under
                  warranty.

         6.       Valuation Opinions

         a.     Based on the procedures performed and subject to the assumptions and limiting
 conditions discussed earlier, it is my opinion that the estimated value of the certain class member
 benefits derived from this class action litigation and settlement are as follows:

                         i.        Software Update made available to Class Members free of charge -
                  $1,540,000.

                           ii.     Warranty Extension made available to Class Members - $470,000.

                         iii. Reimbursement for Out-of-Pocket Expenses made available to
                  Class Members - $6,500,000.

         b.       Accordingly, the total minimum value of this settlement is $8,510,000.

         7.       Certifications and Representations

 7
   I understand that the number of Class Members (owners and lessees) determined by the Settlement Administrator
 is 118,984 as determined by searching DMV databases. I decided to utilize my Class Member estimate as it is
 possible the DMV number includes duplicates and intermediary owners that took vehicle possession only for the
 purposes of selling the vehicle.



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        a.      The statements of fact in this affidavit are true and correct.

        b.     These are my personal, impartial, and unbiased professional analyses, opinions,
 and conclusions, all of which are stated to a reasonable degree of professional certainty.

         c.     I do not have any bias, present interest, or prospective interest with respect to this
 matter, or any bias or personal interest with respect to the parties involved with this assignment.

         d.      My engagement in this assignment and the compensation for completing this
 assignment is not contingent upon the development or reporting of a predetermined value or any
 direction in value, the amount of the value opinions, the attainment of a stipulated result, or the
 occurrence of a subsequent event directly related to the intended use of this valuation.



         I declare under penalty of perjury that the foregoing is true and correct. I am aware that if
 any of the foregoing statements made by me are willfully false, I am subject to punishment.
 Executed this 22nd day of June, 2017, at Blaine, Minnesota.




                                        _____________________________________

                                         KIRK D. KLECKNER




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EXHIBIT A – Curriculum Vitae OF Kirk D. Kleckner CPA MBA ABV ASA-BV CFF

Kirk is currently:

        President of ValuationUSA, LLC ‐ a valuation and succession planning firm serving closely held businesses and their

         owners

        President of Automotive Development Group Capital and Consulting, LLC – dealership profitability consulting firm

Kirk’s experience includes:

        Seven years as Chief Financial Officer for a well‐respected Top 50 dealership group known for its world class customer

         experiences and business processes

        Nineteen years with an accounting firm including roles as shareholder, Chief Operating Officer, and Director of

         Business Valuation and Litigation Support Services

        Consulting work for hundreds of companies in an array of industries including but not limited to: retail dealership, casualty insurance, distribution, manufacturing,

         construction, insurance, reinsurance, service, non‐profit, bank, retail, tool and die, technology, trucking and warehouse

Kirk is a CPA, MBA and has professional accreditations including:

        Accredited in Business Valuation (ABV) from the American Institute of Certified Public Accountants (AICPA)

        Accredited Senior Appraiser in Business Valuation (ASA‐BV) of the American Society of Appraisers

        Certified in Financial Forensics, AICPA (CFF)

Kirk’s expertise leverages both his professional and hands‐on industry experience as a Chief Financial Officer for a $500 million dollar business. Kirk’s expertise and experience
includes buying, selling and integrating of businesses; managing businesses; succession planning, business and intangible asset valuation for strategic transactions; income, gift and
estate tax; owner transactions and litigation purposes.

Kirk is a qualified expert witness with experience in complex business litigation, economic damages calculations, business valuation and intangible asset valuation. Recently, Kirk was a
valuation expert in the greater than $100,000,000 damage award class action cases ‐‐‐ In re Volkswagen & Audi Warranty Extension Litigation (MDL 1790) and In re: Toyota Motor
Corp. Unintended Acceleration Marketing, Sales Practices, and Products Liability Litigation (No. 8:10ML2151 JVS).



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STATEMENT OF QUALIFICATIONS

Academic and Professional Credentials
        ABV ‐ Accredited in Business Valuation, AICPA,
        ASA‐BV ‐ Accredited Senior Appraiser‐Business Valuation, American Society of Appraisers
        CFF ‐ Certified in Financial Forensics, AICPA (granted exclusively to CPAs who demonstrate considerable expertise in forensic accounting through knowledge, skills, and
         experience in areas including: family law; valuations; financial statement misrepresentation; and economic damages calculations.
        MBA ‐ Master of Business Administration, Concentration Finance, University of Minnesota
        CPA ‐ Certified Public Accountant, State of Minnesota and Iowa

        Bachelor of Arts, Accounting and Business Administration, Wartburg College




Positions and Experience

President – ValuationUSA, LLC (2008) – Professional services consulting firm specializing in the following areas:

        succession planning, owner wealth accumulation, preservation and transfer planning

        business and intangible asset valuation

        gift and estate tax

        strategic acquisition and divestiture transactions

        value enhancement

        expert opinions – litigation, economic loss / damage analysis and independent opinions / expert testimony

President – Automotive Development Group Capital and Consulting, LLC (2009) – Business specializing in helping dealership groups and their owners establish and sustain
competitive advantages that lead to performance at extraordinary levels.

Executive Vice President and Chief Financial Officer ‐ Walser Automotive Group, Minneapolis, MN (2000–2007) ‐ Automobile dealership group with related leasing, collision
repair, reinsurance and real estate operations ($500 million of revenues, fourteen locations and 750 employees)

Chief Operating Officer, Director of Valuation and Consulting Department, and Shareholder ‐ Wilkerson, Guthmann + Johnson, Ltd., St. Paul, MN (1981 – 2000) ‐ Public
accounting firm with 40 members and offices in St. Paul, Blaine and Minneapolis. Industries Served: Auto dealership, casualty insurance, manufacturing, construction, insurance,
service, non‐profit, bank, retail, trucking and warehouse.

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Professional Affiliations
American Society of Appraisers, a Member and an Accredited Senior Appraiser‐ Business Valuation (ASA‐BV) ‐ ASA is an organization of appraisal professionals. The ASA promotes
the exchange of ideas and experiences among its members; maintains the Principles of Appraisal Practice and Code of Ethics for the guidance of its members; maintains universal
recognition that members of the Society are objective, unbiased appraisers and consultants, and awards professional designations to qualified members.

American Institute of Certified Public Accountants, a Member and an Accredited in Business Valuation Member (ABV), Certified in Financial Forensics (CFF)

Minnesota Society of Certified Public Accountants, a Member

Twin Cities Estate Planning Council, a Member




Select Presentations
       Business Value: What Leads to a High Performance Manufacturing Business?, 2016 Minnesota Manufacturing Executives, Minneapolis, MN
       Eight Characteristics of High Value Dealerships, 2014 Michigan Automotive Dealers Conference, Livonia, MI
       Eminent Domain Asset Identification, Classification and Valuation, Eminent Domain 2011: Essential Updates and Issues, Hennepin County Bar Association, Minneapolis, MN

       Eight Characteristics of High Value Dealerships (And Why Dealers Should Care About Them), 2010 AICPA Auto Dealership Conference, Phoenix, AZ
       AICPA / ASA Business Conference Review, American Society of Appraisers, Minneapolis, MN

       Fourteen Evolving Dealership Strategies, Chicago Automobile Trade Association / Compli, Chicago; Dealer Driving Force Group, Charlotte, NC

       Integrating Business Value Creation and Tax Planning, 2010 Management & Business Advisers Conference, MN Society of CPAs, Minneapolis, MN
       Tax Reduction Strategies for Today’s Business Environment, M&I Bank

       What Leads to Dealership High Performance, The New Dealership Era Symposium Sponsored by Compli and Wells Fargo, Bloomington, MN
       Business and Real Estate Valuation Timely Opportunities, Thrivent Financial Annual Meeting, Roseville, MN
       Business Valuation for Attorneys, Various

       Understanding Financial Statements for Attorneys, Various



Select Appraisal and Litigation Support Education




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                                                                                           Advanced Issues in Fairness and Solvency Opinions, 2010
   ASA 2015 Advanced Business Valuation Conference, Las Vegas, NV
                                                                                           Real Option Valuation, 2009
   How Probability Affects Discounts for Lack of Marketability, 2015
                                                                                           Monte Carlo Simulation, 2009
   ASA Annual Business Valuation Conference, 2015, 2014
                                                                                           Reconciling the Lack of Marketability Discount Theories, 2009
   MNCPA Business Valuation Conference, 2015, 2013, 2009, 2008
                                                                                           Reasonable Compensation, 2008
   Price and Value: Discerning the Difference, 2015
                                                                                           National Business Valuation Conference (AICPA / ASA) , 2008
   National 7 Hour USPAP for Business Valuation, 2014
                                                                                           Cost of Capital, 2008
   Michigan CPA Automobile Dealers Conference, 2014
                                                                                           ASA International Appraisal Conference 2008
   Buying and Selling a Privately Owned Business, 2014
                                                                                           Illinois Business Valuation Conference, 2008
   The NEW Choice of Entity Decision, 2014
                                                                                           Evaluating Risk Business Valuation Conference, 2008
   The Best Income Tax, Estate Tax and Financial Planning Ideas of 2013
                                                                                           Reconciling the Lack of Marketability Discount Theories 2008
   Family Law Conference, 2013
                                                                                           ABV Examination Review Course, 2007
   Valuing Early Stage Companies, 2013
                                                                                           ABV Examination Review Course and Exam
   Special Topics in the Valuation of Intangible Assets, 2012
                                                                                           Valuation of Family Limited Partnerships and Limited Liability Companies
   Using Market Data to Support Real Estate Partnership Discounts, 2012
                                                                                           S Corporation Valuation Issues
   Reasonable Compensation: Application and Analysis for Appraisal, Tax and
                                                                                           Employment Damages Workshop
    Management Purposes, 2011
                                                                                           Tax Issues in Divorce
   AICPA National Business Valuation Conference, 2011, 2008
                                                                                           Expert Witness in an Untested Litigation Area
   Factors of Comparability: Considerations Affecting Market Royalty Rates
    and Intangible Property Valuations, 2011                                               Uniform Standards of Appraisal Practice, Course and Exam
      th
   20 Annual National Expert Witness Conference, 2011                                     Selection and Use of an Expert in Litigation
   Pluris Discount for Lack of Marketability Study Results, 2010                          Income Tax Planning for Estates and Trusts
   Business Valuations for SBA Loan Purposes: Important Developments and                  Family Limited Partnerships in Minnesota
    Perspectives, 2010

   The Exploration, Examination, and Dissection of Reasonable
    Compensation, 2010

   Valuation Issues in Estate and Gift Tax, 2010


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EXHIBIT B – Primary Materials Considered

      Corrected First Amended Class Action and Jury Trial Demand, October 16, 2014

      Letter from Christopher J. Dalton, Buchanan Ingersoll Rooney PC, April 10, 2015

      Defendants’ Objections and Responses to Plaintiffs’ Rule 30(b)(6) Deposition Notice and Document Demand, April 27, 2016

      Letter from Christopher J. Dalton, Buchanan Ingersoll Rooney PC, July 6, 2016

      Transcript of Deposition of Robert Vincent Coake, July 13, 2016 and the following exhibits:
          o Exhibit 1 SI B54 03 05 Special Roofs, July 2005, Technical Service
          o Exhibit 2 SI B54 17 06 Special Roofs, November 2006, Technical Service
          o Exhibit 3 SI B54 17 06 Special Roofs, June 2011, Technical Service
          o Exhibit 4 SI B54 17 06 Special Roofs, June 2016, Technical Service

      Settlement Agreement and Release including Exhibit A and B, October 24, 2016

      BMW E64 Distribution Data List

      BMW Warranty, Goodwill and CPO Data

      Edmunds Used Vehicle Market Report, February 2017

      Manheim 2017 Used Car Market Report, 22nd Edition

      Average Length of U.S. Vehicle Ownership Hit An All-Time High, Kelly Blue Book KBB.com, February 23, 2012

      Vehicle Survivability and Travel Mileage Schedules, January 2006. National Highway Traffic Safety Administration

      C.N.A. National Warranty Corporation vehicle extended service contracts

      Protective vehicle extended service contracts and standard prices

      National Auto Care vehicle extended service contracts

      Allstate vehicle service agreements

      Various warranty insurance company state filings showing rate filings and rate manual guidelines
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   NADA Official Used Car Guide, National Appraisal Guides, Inc.




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Exhibit C – Valuation Primary Significant Assumptions and Limiting Conditions



      Information provided is accurate.

      Effective date of valuations as of June 19, 2017




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Exhibit D ‐ Value of Software Update Made Available to Class Members

Vehicle Model Year                                        2004     2005       2006     2007     2008      2009      2010        Total


Estimated Number of Subject Vehicles On The Road
Number of Subject Vehicles Originally Sold                 3,324    6,472      5,421    6,329     5,050     1,776     1,972       30,344
Percentage Vehicles on Road per NHTSA                     50.94%   61.25%     71.70%   78.66%    82.52%    86.04%    89.18%       72.42%
                                                           1,693    3,964      3,887    4,978     4,167     1,528     1,759       21,976



Value of Software Update Made Available to Class Members
Warranty Cost of Software Update per Vehicle          $   70.15 $ 70.15 $ 70.15 $ 70.15 $ 70.15 $ 70.15 $ 70.15 $                 70.15
Subject Vehicles on the Road                              1,693     3,964     3,887     4,978     4,167     1,528     1,759      21,976
Estimated Retail Price of Hypothetical ESC Per Year   $ 118,764 $ 278,075 $ 272,673 $ 349,207 $ 292,315 $ 107,189 $ 123,394 $ 1,541,616

Round                                                                                                                         $ 1,540,000




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Exhibit E ‐ Value of Warranty Extension

Vehicle Model Year                                      2004        2005         2006         2007        2008        2009        2010          Total


Estimated Number of Subject Vehicles On The Road
Number of Subject Vehicles Originally Sold                3,324       6,472         5,421       6,329       5,050       1,776       1,972         30,344
Percentage Vehicles on Road per NHTSA                    50.94%      61.25%        71.70%      78.66%      82.52%      86.04%      89.18%         72.42%
                                                          1,693       3,964         3,887       4,978       4,167       1,528       1,759         21,976



Estimated Retail Price for Hypothetical Extended Service Contract
Average Warranty Claim Cost                         $    425.69 $    425.69 $      425.69 $    425.69 $    425.69 $    425.69 $    425.69
Guideline Retail Cost of ESC Per Year of Coverage            5%          5%            5%          5%          5%          5%          5%
Estimated Retail Price of Hypothetical ESC Per Year $     21.28 $     21.28 $       21.28 $     21.28 $     21.28 $     21.28 $     21.28




Total Class Member Retail Cost to Purchase Hypothetical ESC
Total Coverage Years                                          1           1             1           1           1           1           1
Subject Vehicles On The Road Today                        1,693       3,964         3,887       4,978       4,167       1,528       1,759         21,976
Estimated Retail Price of Hypothetical ESC         $      21.28 $     21.28 $       21.28 $     21.28 $     21.28 $     21.28 $     21.28
                                                   $     36,027 $    84,354 $      82,715 $   105,932 $    88,674 $    32,516 $    37,432 $      467,650

Round                                                                                                                                       $    470,000




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Exhibit F ‐ Estimated Repair or Replacement Costs Incurred Available for Reimbursement

Vehicle Model Year                                      2004          2005            2006       2007       2008         2009         2010           Total

Number of Subject Vehicles                                 3,324        6,472           5,421      6,329      5,050        1,776        1,972           30,344

Annual Warranty Claim Occurrence Rate                          8.0%     12.8%            5.7%      13.2%          7.5%         5.3%         4.5%             9.2%

Number of In‐Service Years From End of Warranty Period to Applicable Valuation Date
Post Warranty Period Average In‐Service Years           13.2          12.2            11.2       10.2       9.2          8.2          7.2             10.2
Weighted Average                                         1.4           2.6            2.0        2.1        1.5          0.5          0.5             10.7

Vehicles Remaining on Road at Assumed Effective Settlement Date
Vehicles on Road per NHTSA                                50.94%       61.25%          71.70%     78.66%     82.52%       86.04%       89.18%
Vehicle on Road                                            1,693        3,964           3,887      4,978      4,167        1,528        1,758           21,976

Average Number of Owners That Incurred Applicable Post Warranty Period Repair Costs
Average Number of Owners                                      2.7          2.7             2.7        2.7        2.7         1.9           1.9
Number of Subject Vehicles Sold                            3,324        6,472           5,421      6,329      5,050        1,776        1,972
Estimated Number of Owners Before Adjustments              8,975       17,474          14,637     17,088     13,635        3,374        3,747           78,930
Less Warranty Period Claim Owners                         (1,059)      (3,323)         (1,237)    (3,352)    (1,519)        (379)        (356)         (11,225)
Less Goodwill Claim Owners                                  (163)        (676)           (246)      (542)      (192)         (53)         (34)          (1,906)
Less Certified Pre‐Owned Claim Owners                        (62)        (300)           (148)      (418)      (293)         (62)         (26)          (1,309)
Less Estimate of Extended Service Contract Owners           (997)      (1,942)         (1,626)    (1,899)    (1,515)        (533)        (592)          (9,104)
Estimated Average Number of Owners                         6,694       11,233          11,380     10,877     10,116        2,347        2,739           55,386
Calculated Percentage That Will Pay For Repair             40.7%        37.6%           34.5%      31.4%      28.4%        25.3%        22.2%            33.2%
                                                           2,724        4,225           3,929      3,420      2,869          593          608           18,368

Estimated Retail Repair Costs Available For Reimbursement
Weighted Average Cost of Repair                     $     355.54 $    355.54 $    355.54 $    355.54 $    355.54 $        355.54 $     355.54 $    355.54
Estimated Owners That Chose to Repair or Replace           2,724       4,225       3,929       3,420       2,869             593          608      18,368
                                                    $    968,494 $ 1,502,161 $ 1,396,921 $ 1,215,950 $ 1,020,047 $       210,836 $    216,169 $ 6,530,578

Round                                                                                                                                              $ 6,500,000




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